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            Exhibit
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                                                             Exhibit B
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(12)   United States Patent                                                            (10)   Patent No.:                  US 8,245,764 B2
       Eriksen                                                                         (45)   Date of Patent:                      Aug. 21, 2012

(54)    COOLING SYSTEM FOR A COMPUTER                                                   5,890,880     A       4/1999 Lustwerk
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(75)    Inventor:     Andre Sloth Eriksen, Aalborg C (DK)                               6,263,957     B1      7/2001 Chen eta!.
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(22)    Filed:        Oct. 7, 2011                                                                              (Continued)

(65)                      Prior Publication Data                                                 FOREIGN PATENT DOCUMENTS
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        US 2012/0061058Al                Mar. 15, 2012
                                                                                                           (Continued)
                   Related U.S. Application Data
                                                                                 Primary Examiner- Frantz Jules
(63)    Continuation of application No. 11/919,974, filed as                     Assistant Examiner- Emmanuel Duke
        application No. PCT/DK2005/000310 on May 6,                              (74) Attorney, Agent, or Firm- Finnegan, Henderson,
        2005.                                                                    Farabow, Garrett & Dunner, LLP

(51)    Int. Cl.                                                                 (57)                          ABSTRACT
        F28F 7100                      (2006.01)                                 The invention relates to a cooling system for a computer
        HOSK 7120                      (2006.01)                                 system, said computer system comprising at least one unit
(52)    U.S. Cl. ....................................... 165/80.4; 361/699       such as a central processing unit (CPU) generating thermal
(58)    Field of Classification Search ................. 165/80.2,               energy and said cooling system intended for cooling the at
                 165/80.4, 104.21, 104.31, 104.33; 361/699,                      least one processing unit and comprising a reservoir having
                                               361/702, 720; 417/423.1           an amount of cooling liquid, said cooling liquid intended for
        See application file for complete search history.                        accumulating and transferring of thermal energy dissipated
                                                                                 from the processing unit to the cooling liquid. The cooling
(56)                     References Cited                                        system has a heat exchanging interface for providing thermal
                                                                                 contact between the processing unit and the cooling liquid for
                   U.S. PATENT DOCUMENTS                                         dissipating heat from the processing unit to the cooling liquid,
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                                                     47A       48                     47A
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                                  FIG. 1




                                                    FIG. 2
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                                 FIG. 9




                                    FIG. 10
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                                 FIG. 11
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       FIG. 12
                                              FIG. 13
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                                     FIG. 14
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                                                  FIG. 16
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                             FIG. 18




                            FIG. 19
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                                 FIG. 20
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       COOLING SYSTEM FOR A COMPUTER                                     processing unit to the cooling liquid, a heat exchanging inter-
                  SYSTEM                                                 face for providing thermal contact between the processing
                                                                         unit and the cooling liquid for dissipating heat from the pro-
  This application is a continuation of U.S. application Ser.            cessing unit to the cooling liquid, a pump being provided as
No. 11/919,974, filed Jan. 6, 2009, which is a U.S. National             part of an integrate element, said integrate element compris-
Phase Application of PCT/DK2005/000310, filed May 6,                     ing the heat exchanging interface, the reservoir and the pump,
2005, which is incorporated herein by reference in its entirety.         said pump intended for pumping the cooling liquid into the
                                                                         reservoir, through the reservoir and from the reservoir to a
          BACKGROUND OF THE INVENTION                                    heat radiating means, said heat radiating means intended for
                                                                    10   radiating thermal energy from the cooling liquid, dissipated
   The present invention relates to a cooling system for a               to the cooling liquid, to surroundings of the heat radiating
central processing unit (CPU) or other processing unit of a              means.
computer system. More specifically, the invention relates to a               By providing an integrate element, it is possible to limit the
liquid-cooling system for a mainstream computer system                   number of separate elements of the system. However, there is
such as a PC.                                                       15   actually no need for limiting the number of elements, because
   During operation of a computer, the heat created inside the           often there is enough space within a cabinet of a computer
CPU or other processing unit must be carried away fast and               system to encompass the different individual elements of the
efficiently, keeping the temperature within the design range             cooling system. Thus, it is surprisingly that, at all, any attempt
specified by the manufacturer. As an example of cooling                  is conducted of integrating some of the elements.
systems, various CPU cooling methods exist and the most             20       In possible embodiments according to this aspect of the
used CPU cooling method to date has been an air-cooling                  invention, the entire pump is placed inside the reservoir with
arrangement, wherein a heat sink in thermal contact with the             at least an inlet or an outlet leading to the liquid in the
CPU transports the heat away from the CPU and as an option               reservoir. In an alternative embodiment the pump is placed
a fan mounted on top of the heat sink functions as an air fan for        outside the reservoir in the immediate vicinity of the reservoir
removing the heat from the heat sink by blowing air through         25   and wherein at least an inlet or an outlet is leading directly to
segments of the heat sink. This air-cooling arrangement is               the liquid in the reservoir. By placing the pump inside the
sufficient as long as the heat produced by the CPU is kept at            reservoir or in the immediate vicinity outside the reservoir,
today' s level, however it becomes less useful in future cooling         the integrity of the combined reservoir, heat exchanger and
arrangements when considering the development of CPUs                    pump is obtained, so that the element is easy to employ in new
since the speed of a CPU is said to double perhaps every 18         30   and existing computer systems, especially mainstream com-
months, thus increasing the heat production accordingly.                 puter systems.
   Another design used today is a CPU cooling arrangement                    In a preferred embodiment, the pumping member of the
where cooling liquid is used to cool the CPU by circulating a            pump and a driven part of the motor of the pump, such as a
cooling liquid inside a closed system by means of a pumping              rotor of en electrical motor, is placed inside the reservoir
unit, and where the closed system also comprises a heat             35   embedded in the cooling liquid, and wherein a stationary part
exchanger past which the cooling liquid is circulated.                   of the motor of the pump, such as a stator of an electrical
   A liquid-cooling arrangement is more efficient than an                motor, is placed outside the reservoir. By having the driven
air-cooling arrangement and tends to lower the noise level of            part of the motor placed inside the reservoir submerged in the
the cooling arrangement in general. However, the liquid-                 cooling liquid and the stationary part of the motor outside the
cooling design consists of many components, which                   40   reservoir, there is no need for encapsulating the stationary
increases the total installation time, thus making it less desir-        part in a liquid-proof insulation. However, problems may
able as a mainstream solution. With a trend of producing                 occur having then stationary part driving the driven part.
smaller and more compact PCs for the end-users, the greater              However, the present invention provide means for obtaining
amount of components in a typical liquid-cooling arrange-                such action, although not at all evident how to solve this
ment is also undesirable. Furthermore, the many components          45   problem.
having to be coupled together incurs a risk of leakage of                    The object may also be obtained by a cooling system for a
cooling liquid from the system.                                          computer system, said computer system comprising: at least
                                                                         one unit such as a central processing unit (CPU) generating
                         SUMMARY                                         thermal energy and said cooling system intended for cooling
                                                                    50   the at least one processing unit, a reservoir having an amount
   It maybe one object of the invention to provide a small and           of cooling liquid, said cooling liquid intended for accumulat-
compact liquid-cooling solution, which is more efficient than            ing and transferring of thermal energy dissipated from the
existing air-cooling arrangements and which can be produced              processing unit to the cooling liquid, a heat exchanging inter-
at a low cost enabling high production volumes. It may be                face for providing thermal contact between the processing
another object to create a liquid-cooling arrangement, which 55          unit and the cooling liquid for dissipating heat from the pro-
is easy-to-use and implement, and which requires a low level             cessing unit to the cooling liquid, a pump intended for pump-
of maintenance or no maintenance at all. It may be still                 ing the cooling liquid into the reservoir, through the reservoir
another object of the present invention to create a liquid-              and from the reservoir to a heat radiating means, said cooling
cooling arrangement, which can be used with existing CPU                 system being intended for thermal contact with the process-
types, and which can be used in existing computer systems. 60            ing unit by means of existing fastening means associated with
   This object may be obtained by a cooling system for a                 the processing unit, and said heat radiating means intended
computer system, said computer system comprising: at least               for radiating from the cooling liquid thermal energy, dissi-
one unit such as a central processing unit (CPU) generating              pated to the cooling liquid, to surroundings of the heat radi-
thermal energy and said cooling system intended for cooling              ating means.
the at least one processing unit, a reservoir having an amount 65            The use of existing fastening means has the advantage that
of cooling liquid, said cooling liquid intended for accumulat-           fitting of the cooling system is fast and easy. However, once
ing and transferring of thermal energy dissipated from the               again there is no problem for the person skilled in the art to
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adopt specially adapted mounting means for any element of                supplied by the voltage supply of the computer system itself
the cooling system, because there are numerous possibilities             is DC, thus this will be the type of voltage chosen by the
in existing cabinets of computer systems for mounting any                skilled person.
kind of any number of elements, also elements of a cooling                  In preferred embodiments according to any aspect of the
system.                                                                  invention, an electrical motor is intended both for driving the
   In preferred embodiments according to this aspect of the              pump for pumping the liquid and for driving the a fan for
invention, the existing fastening means are means intended               establishing a flow of air in the vicinity of the reservoir, or an
for attaching a heat sink to the processing unit, or the existing        electrical motor is intended both for driving the pump for
fastening means are means intended for attaching a cooling               pumping the liquid and for driving the a fan for establishing a
                                                                    10   flow of air in the vicinity of the heat radiating means, or an
fan to the processing unit, or the existing fastening means are
                                                                         electrical motor is intended both for driving the pump for
means intended for attaching a heat sink together with a
                                                                         pumping the liquid, and for driving the a fan for establishing
cooling fan to the processing unit. Existing fastening means
                                                                         a flow of air in the vicinity of the reservoir, and for driving the
of the kind mentioned is commonly used for air cooling of                a fan for establishing a flow of air in the vicinity of the heat
CPUs of computer systems, however, air cooling arrange-             15   radiating means.
ments being much less complex than liquid cooling systems.                  By utilizing a single electrical motor for driving more than
Nevertheless, it has ingeniously been possible to develop a              one element of the cooling system according to any of the
complex and effective liquid cooling system capable of uti-              aspects of the invention, the lesser complexity and the reli-
lizing such existing fastening means for simple and less effec-          ability of the cooling system will be further enhanced.
tive air cooling arrangements.                                      20      The heat exchanging interface may be an element being
   According to an aspect of the invention, the pump is                  separate from the reservoir, and where the heat exchanging
selected from the following types: Bellows pump, centrifugal             interface is secured to the reservoir in a manner so that the
pump, diaphragm pump, drum pump, flexible finer pump,                    heat exchanging interface constitutes part of the reservoir
flexible impeller pump, gear pump, peristaltic tubing pump,              when being secured to the reservoir. Alternatively, the heat
piston pump, processing cavity pump, pressure washer pump,          25   exchanging interface constitutes an integrate surface of the
rotary lobe pump, rotary vane pump and electro-kinetic                   reservoir, and where the heat exchanging surface extends
pump. By adopting one or more of the solution of the present             along an area of the surface of the reservoir, said area of
invention, a wide variety of pumps may be used without                   surface being intended for facing the processing unit and said
departing from the scope of the invention.                               area of surface being intended for the close thermal contact
   According to another aspect of the invention, driving            30   with the processing unit. Even alternatively, the heat exchang-
                                                                         ing interface is constitutes by a free surface of the processing
means for driving the pump is selected among the following
                                                                         unit, and where the free surface is capable of establishing heat
driving means: electrically operated rotary motor, piezo-elec-
                                                                         dissipation between the processing unit and the cooling liquid
trically operated motor, permanent magnet operated motor,
                                                                         through an aperture provided in the reservoir, and where the
fluid-operated motor, capacitor-operated motor. As is the case      35   aperture extends along an area of the surface of the reservoir,
when selecting the pump to pump the liquid, by adopting one              said surface being intended for facing the processing unit.
or more of the solution of the present invention, a wide variety            Possibly, an uneven surface such as pins or fins extending
of pumps may be used without departing from the scope of the             from the copper plate provide a network of channels across
invention.                                                               the inner surface of the heat exchanging interface. A network
   The object may also be obtained by a cooling system for a        40   of channels ensure the cooling liquid being passed along the
computer system, said computer system comprising: at least               inner surface of the interface such as a copper plate in a way
one unit such as a central processing unit (CPU) generating              that maximizes the retention time of the cooling liquid along
thermal energy and said cooling system intended for cooling              the heat exchanging interface and in a way that optimizes the
the at least one processing unit, a reservoir having an amount           thermal exchange between the heat exchanging interface and
of cooling liquid, said cooling liquid intended for accumulat-      45   the cooling liquid as long as the cooling liquid is in thermal
ing and transferring of thermal energy dissipated from the               contact with heat exchanging interface.
processing unit to the cooling liquid, a heat exchanging inter-             Possibly, the cooling system may be provided with a heat
face for providing thermal contact between the processing                exchanging interface for providing thermal contact between
unit and the cooling liquid for dissipating heat from the pro-           the processing unit and the cooling liquid for dissipating heat
cessing unit to the cooling liquid, a pump intended for pump-       50   from the processing unit to the cooling liquid, a pumping
ing the cooling liquid into the reservoir, through the reservoir         means being intended for pumping the cooling liquid into the
and from the reservoir to a heat radiating means, and said               reservoir, through the reservoir and from the reservoir to a
cooling system further comprising a pump wherein the pump                heat radiating means, said heat radiating means intended for
is driven by an AC electrical motor by a DC electrical power             radiating thermal energy from the cooling liquid, dissipated
supply of the computer system, where at least part of the           55   to the cooling liquid, to surroundings of the heat radiating
electrical power from said power supply is intended for being            means, said heat exchanging interface constituting a heat
converted to AC being supplied to the electrical motor.                  exchanging surface being manufactured from a material suit-
   It may be advantageous to use anAC motor, such as a 12V               able for heat conducting, and with a first side of the heat
AC motor, for driving the pump in order to obtain a stabile              exchanging surface facing the central processing unit being
unit perhaps having to operate 24 hours a day, 365 days a year.     60   substantially plane and with a second side of the heat
However, the person skilled in the art will find it unnecessary          exchanging surface facing the cooling liquid being substan-
to adopt as example a 12V motor because high voltage such as             tially plane and said reservoir being manufactured from plas-
220V or llOV is readily accessible as this is the electrical             tic, and channels or segments being provided in the reservoir
voltage used to power the voltage supply of the computer                 for establishing a certain flow-path for the cooling liquid
system itself. Although choosing to use a 12V motor for the         65   through the reservoir.
pump, it has never been and will never be the choice of the                 Providing a plane heat exchanging surface, both the first,
person skilled in the art to use an AC motor. The voltage                inner side being in thermal contact with the cooling liquid and
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the second, outer side being in thermal contact with the heat            into the reservoir or constitutes a part of the boundaries of the
generating processing unit, results in the costs for manufac-            reservoir, and the cooling liquid has direct access to the free
turing the heat exchanging surface is reduced to an absolute             surface of the processing unit.
m1mmum.                                                                     A possible heat exchanging interface may be the direct
   According to the above possible solution, an inlet of the             contact between the heat generating unit such as a CPU and
pumping means is positioned in immediate vicinity of the                 the cooling liquid, where at least one unit such as a central
heat exchanging interface for thereby obtaining a turbulence             processing unit (CPU) generating thermal energy and said
of flow of the cooling liquid in the immediate vicinity of the           cooling system intended for cooling the at least one process-
heat exchanging interface. The turbulence of flow is advan-              ing unit comprising at least one liquid reservoir mainly for
tageous for obtaining a heat dissipation. If the heat exchang-      10   dissipating or radiating heat, said heat being accumulated and
ing interface is plane, the inlet of the pump being positioned           transferred by said cooling liquid, said cooling system being
as mentioned above, may result in a turbulence of flow occur-            adapted such as to provide transfer of said heat from a heat
ring along the heat exchanging interface, at least in the vicin-         dissipating interface to a heat radiating surface where said at
ity of the inlet of the pump, but possibly also distant form the         least one liquid reservoir being provided with one aperture
inlet.                                                              15   intended for being closed by placing said aperture covering
   Alternatively, or additionally, an outlet of said pumping             part of, alternatively covering the whole of, the at least one
means being positioned in immediate vicinity of the heat                 processing unit in such a way that a free surface of the pro-
exchanging interface for thereby obtaining a turbulence of               cessing unit is in direct heat exchanging contact with an
flow of the cooling liquid in the immediate vicinity of the heat         interior of the reservoir, and thus in direct heat exchanging
exchange interface. The turbulence of flow is advantageous          20   contact with the cooling liquid in the reservoir, through the
for obtaining a heat dissipation. If the heat exchanging inter-          aperture.
face is plane, the inlet of the pump being positioned as men-               The aperture of the reservoir may be intended for being
tioned above, may result in a turbulence of flow occurring               closed by attaching boundaries of said aperture to a free
along the heat exchanging interface, at least in the vicinity of         surface of a the processing unit, said boundaries being liquid-
the inlet of the pump, but possibly also distant form the inlet.    25   proof when attached to the free surface of the processing unit
   However, a plane first, inner surface may also result in the          so that the liquid may flow freely across the free surface
cooling liquid passing the heat exchanging surface too fast.             without the risk of the liquid dissipating through the bound-
This may be remedied by providing grooves along the inner                aries. Alternatively, but posing the same technical effect, the
surface, thereby providing a flow path in the heat exchanging            aperture of the reservoir is intended for being closed by
surface. This however results in the costs for manufacturing        30   attaching boundaries of said aperture along boundaries of a
the heat exchanging surface increasing.                                  free surface of the processing unit.
   The solution to this problem has been dealt with by pro-                 If a heat sink is provided as an aid in dissipating heat from
viding channels or segments in the reservoir housing instead.            the heat generating unit such as a CPU, the aperture of the
The reservoir housing may be manufactured by injection                   reservoir may be intended for being closed by attaching
molding or by casting, depending on the material which the          35   boundaries of said aperture to a free surface of a heat sink.
reservoir housing is made from. Proving channels or seg-                 Alternatively, the aperture of the reservoir may be intended
ments during molding or casting of the reservoir housing is              for being closed by attaching boundaries of said aperture
much more cost-effective than milling grooves along the                  along boundaries of a free surface of a heat sink. Alterna-
inner surface of the heat exchanging surface.                            tively, possibly, the heat exchanging interface may be pro-
   Possibly, the cooling system may be provided with at least       40   vided as a first reservoir intended for being closed by attach-
one liquid reservoir mainly for dissipating or radiating heat,           ing boundaries of an aperture in the first reservoir to,
said heat being accumulated and transferred by said cooling              alternatively along, a free surface of a said processing unit,
liquid, said cooling system being adapted such as to provide             and a second reservoir intended for being closed by attaching
transfer of said heat from a heat dissipating surface to a heat          boundaries of an aperture in the second reservoir to, alterna-
radiating surface where said at least one liquid reservoir being    45   tively along, a free surface of a to a free surface of a heat sink,
provided with one aperture intended for being closed by                  and liquid conducting means provided between the first res-
placing said aperture covering part of, alternatively covering           ervoir and the second reservoir.
the whole of, the at least one processing unit in such a way that           The first reservoir may be closed by attaching said first
a free surface of the processing unit is in direct heat exchang-         reservoir to a heat exchanging surface element being in close
ing contact with an interior of the reservoir, and thus in direct   50   thermal contact with the processing unit, said heat exchang-
heat exchanging contact with the cooling liquid in the reser-            ing surface intended for dissipating heat from the processing
voir, through the aperture.                                              unit to cooling liquid in the first reservoir, and wherein a
   Heat dissipation from the processing unit to the cooling              second reservoir is closed by attaching said second reservoir
liquid must be very efficient to ensure proper cooling of the            to a surface of a heat sink, said heat sink intended for radiating
processing unit, Especially in the case, where the processing       55   heat from cooling liquid in the second reservoir to the exterior
unit is a CPU, the surface for heat dissipation is limited by the        surroundings.
surface area of the CPU. This may be remedied by utilizing a                Also, the first reservoir and said second reservoir may be
heat exchanging surface being made of a material having a                provided as a monolithic structure comprising both the first
high thermal conductivity such as copper or aluminum and                 reservoir and the second reservoir and where both a heat
ensuring a proper thermal bondage between the heat                  60   dissipation from the processing unit to the cooling liquid in
exchanging interlace and the CPU.                                        the first reservoir and heat radiation from the cooling liquid in
   However, in a possible embodiment according to the fea-               the second reservoir to exterior surrounding is provided by
tures in the above paragraph, the heat dissipation takes place           the monolithic structure. The said monolithic structure may
directly between the processing unit and the cooling liquid by           preferably be manufactured at least partly from plastic, pref-
providing an aperture in the reservoir housing, said aperture       65   erably being manufactured fully in plastic, and said mono-
being adapted for taking up a free surface of the processing             lithic structure thus being manufactured by injection mold-
unit. Thereby, the free surface of the processing unit extends           ing.
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   Transfer of said cooling liquid from an outlet of the first           solution mentioned. The performance of an impeller of a DC
reservoir to an inlet of the second reservoir, and from an outlet        pump is much better than the performance of an impeller from
of the second reservoir to an inlet of the first reservoir, and          an AC pump. The motor from an AC pump is more reliable
circulating the cooling liquid within said liquid conducting             than a motor from a DC pump. The advantageous obtained is
means is provided by a pumping means being intended for                  thus of synergetic nature, seeing that different advantages of
pumping the cooling liquid. One of said reservoirs of said               the impeller of the DC pump and of the motoroftheAC pump
monolithic structure may comprise said pumping means.                    are different in nature.
   An inlet and/or an outlet and/or a pumping member of said                According to another aspect of the invention, a method is
pumping means, may be provided in the vicinity of said                   envisaged, said method of cooling a computer system com-
substantially plane side in order to provide a turbulence of
                                                                    10   prising at least one unit such as a central processing unit
flow and hereby improve the exchange of heat between said
                                                                         (CPU) generating thermal energy and said method utilizing a
cooling liquid and substantially plane side, and the inlet of the
                                                                         cooling system for cooling the at least one processing unit
pumping means may be provided within the first reservoir and
the outlet may be provided within the second reservoir.                  and, said cooling system comprising a reservoir, at least one
   According to one aspect of the invention, a method is            15
                                                                         heat exchanging interface, an air blowing fan, a pumping
envisaged, said method of cooling a computer system com-                 means, said method of cooling comprising the steps of apply-
prising at least one unit such as a central processing unit              ing one of the following possibilities of how to operate the
(CPU) generating thermal energy and said method utilizing a              computer system: establishing, or defining, or selecting an
cooling system for cooling the at least one processing unit              operative status of the computer system; controlling the
and, said cooling system comprising a reservoir, at least one       20   operation of at least one of the following means of the com-
heat exchanging interface and a pumping means, said method               puter system; the pumping means and the air blowing fan in
of cooling comprising the steps of establishing, or defining, or         response to at least one of the following parameters; a surface
selecting an operative status of the pumping means; control-             temperature of the heat generating processing unit, an internal
ling the operation of the motor of the pumping means in                  temperature of the heat generating processing unit, or a pro-
response to the following parameters; the necessary direction       25   cessing load of the CPU; and in accordance with the operative
of movement for obtaining a pumping action of a pumping                  status being established, defined or selected, controlling the
member of the pumping means, the possible direction of                   operation of the computer system in order to achieve at least
movement of a driving part of the motor of the pumping                   one of the following conditions; a certain cooling perfor-
means; and in accordance with the operative status being                 mance of the cooling system, a certain electrical consumption
established, defined or selected, controlling the operation of      30   of the cooling system, a certain noise level of the cooling
the computer system in order to achieve the necessary direc-             system.
tion of movement of the driving part of the motor for estab-                Applying the above method ensures an operation of the
lishing the necessary direction of movement for obtaining he             computer system being in accordance with selected proper-
pumping action of the pumping member.                                    ties during the use of the computer system. For some appli-
   There may be pumping means, where the pumping mem-               35   cations, the cooling performance is vital such as may be the
ber is only operable in one direction but where the motor                case when working with image files or when downloading
driving the pumping member is operable in two directions.                large files from a network during which the processing units
The solution to this problem is to either choose a pumping               is highly loaded and thus generating much heat. For other
member operable in both directions or to chose a motor being             applications, the electrical power consumption is more vital
operable in only one direction. According to the invention, a       40   such as may be the case when utilizing domestic computer
solution is provided where a one-way directional pumping                 systems or in large office building in envirouments where the
member may be operated any a two-way directional motor.                  electrical grid may be weak such as in third countries. In still
Despite the contradictory nature of this solution, advantages            other applications, the noise generated by the cooling system
may however be present.                                                  is to be reduced to a certain level, which may be the case in
   As example, the method is being applied to a cooling             45   office buildings with white collar people working alone, or at
system where the pumping member is a rotary impeller hav-                home, if the domestic computer perhaps is situated in the
ing a one-way direction for obtaining a pumping action, and              living room, or at any other location where other exterior
where the motor of the pumping means is an electrical AC                 considerations have to be dealt with.
motor having a rotor constituting the driving part of the motor,            According to another aspect of the invention, a method is
and where said method comprises the step of establishing, or        50   envisaged, said method being employed with cooling system
defining, or selecting a rotary position of the rotor of the             further comprising a pumping means with an impeller for
electrical AC motor, and applying at least one half-wave of an           pumping the cooling liquid through a pumping housing, said
AC power signal to the stator oftheAC motor before applying              pumping means being driven by an AC electrical motor with
a full-wave AC power signal.                                             a stator and a rotor, and said pumping means being provided
   As an alternative example, the method is being applied to a      55   with a means for sensing a position of the rotor, and wherein
cooling system where the pumping member is a rotary impel-               the method comprises the following steps: initially establish-
ler having a one-way direction for obtaining a pumping                   ing a preferred rotational direction of the rotor of the electrical
action, and where the motor of the pumping means is an                   motor; before start of the electrical motor, sensing the angular
electrical AC motor having a rotor constituting the driving              position of the rotor; during start, applying an electrical AC
part of the motor, and said method comprises the step of            60   voltage to the electrical motor and selecting the signal value,
establishing, or defining, or selecting a rotary position of the         positive or negative, oftheAC voltage at start of the electrical
rotor of the electrical AC motor, and applying at least one              motor; said selection being made according to the preferred
half-wave of an AC power signal to the stator of the AC motor            rotational direction; and said application of the AC signal,
after having applied the full-wave AC power signal.                      such as an AC voltage, being performed by the computer
   In both the above examples, the advantages of the one-way        65   system for applying the AC signal, such as an AC voltage,
impeller from a traditional DC pump together with the advan-             from the electrical power supply of the computer system
tages of a motor from a traditional AC pump is obtained in the           during conversions of the electrical DC signal, such as a DC
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voltage, of the power supply to the AC signal, such as an AC               FIG. 19 is a graph showing a method for starting a rotor of
voltage, for the electrical motor.                                      the electrical AC motor, said AC motor driving an impeller
   Adopting the above method according to the invention                 selected from a pump driven by a DC motor.
ensures the most efficient circulation of cooling liquid in the            FIG. 20 is a is a simplified schematic showing a cross-
cooling system and at the same time ensures the lowest pos-             sectional view of the reservoir along plane 20-20 of FIG. 17.
sible energy consumption of the electrical motor driving the
impeller. The efficient circulation of the cooling liquid is                             DETAILED DESCRIPTION
obtained by means of an impeller being designed for rotation
in one rotational direction only, thus optimizing the impeller             FIG. 1 is an exploded view of an embodiment of prior art
                                                                   10   cooling apparatus for a computer system. The figure shows
design with regard to the only one rotational direction as
opposed to both rotational directions. The low energy con-              the typical components in an air-cooling type CPU cooling
sumption is achieved because of the impeller design being               arrangement. The figure shows a prior art heat sink 4 intended
optimized, thus limiting the necessary rotational speed of the          for air cooling and provided with segments intersected by
impeller for obtaining e certain amount of flow of the cooling          interstices, a prior art air fan 5 which is to be mounted on top
                                                                   15
liquid through the cooling system. A bonus effect of the                of the heat sink by use of fastening means 3 and 6.
lowest possible energy consumption being obtained is the                   The fastening means comprises a frame 3 provided with
lowest possible noise level of the pump also being obtained.            holes intended for bolts, screws, rivets or other suitable fas-
The noise level of the pump is amongst other parameters also            tening means (not shown) for thereby attaching the frame to a
dependent on the design and the rotational speed of the impel-     20   motherboard 2 of a CPU 1 or onto another processing unit of
ler. Thus, an optimized impeller design and impeller speed              the computer system. The frame 3 is also provided with
will reduce the noise level to the lowest possible in consider-         mortises provided in perpendicular extending studs in each
ation of ensuring a certain cooling capacity.                           corner of the frame, said mortises intended for taking up
                                                                        tenons of a couple of braces. The braces 6 are intended for
        BRIEF DESCRIPTION OF THE FIGURES                           25   enclosing the heat sink 4 and the air fan 5 so that the air fan and
                                                                        the heat sink thereby is secured to the frame. Using proper
   The invention will hereafter be described with reference to          retention mechanisms, when the frame is attached to the
the drawings, where                                                     motherboard of the CPU of other processing unit, and when
   FIG. 1 shows an embodiment of the prior art. The figure              the tenons of the braces are inserted into the mortises of the
shows the typical components in an air-cooling type CPU            30   frame, the air fan and heat exchanger is pressed towards the
cooling arrangement.                                                    CPU by using a force perpendicular to the CPU surface, said
   FIG. 2 shows an embodiment of the prior art. The figure              force being provided by lever arms.
shows the parts of the typical air-cooling type CPU cooling                FIG. 2 shows the parts of the typical air-cooling type CPU
arrangement of FIG. 1 when assembled.                                   cooling arrangement of FIG. 1, when assembled. The parts
   FIG. 3 shows an embodiment of the prior art. The figure         35   are attached to each other and will be mounted on top of a
shows the typical components in a liquid-cooling type CPU               CPU on a motherboard (not shown) of a computer system.
cooling arrangement.                                                       FIG. 3 shows another embodiment of a prior art cooling
   FIG. 4 is an exploded view of the invention and the sur-             system. The figure shows the typical components in a liquid-
rounding elements.                                                      cooling type CPU cooling arrangement. The figure shows a
   FIG. 5 shows the parts shown in the previous figure when        40   prior art heat exchanger 7, which is in connection with a prior
assembled and attached to the motherboard of a computer                 art liquid reservoir 8, a prior art liquid pump 9 and a heat
system.                                                                 radiator 11 and an air fan 10 provided together with the heat
   FIG. 6 is an exploded view of the reservoir from the pre-            radiator. The prior art heat exchanger 7, which can be
vious FIGS. 4 and 5 seen from the opposite site and also                mounted on a CPU (not shown) is connected to a radiator and
showing the pump.                                                  45   reservoir, respectively. The reservoir serves as a storage unit
   FIG. 7 is a cut -out view into the reservoir housing the pump        for excess liquid not capable ofbeing contained in the remain-
and an inlet and an outlet extending out of the reservoir.              ing components. The reservoir is also intended as a means for
   FIG. 8 is a view of the cooling system showing the reservoir         venting the system of any air entrapped in the system and as
connected to the heat radiator.                                         a means for filling the system with liquid. The heat radiator 11
   FIG. 9-10 are perspective views of a possible embodiment        50   serves as a means for removing the heat from the liquid by
of reservoir housing providing direct contact between a CPU             means of the air fan 10 blowing air through the heat radiator.
and a cooling liquid in a reservoir.                                    All the components are in connection with each other via
   FIG.11-13 are perspective views of a possible embodiment             tubes for conducting the liquid serving as the cooling
ofheat sink and a reservoir housing constituting an integrated          medium.
unit.                                                              55      FIG. 4 is an exploded view of a cooling system according
   FIG.14 is a perspective view of the embodiment shown in              to an embodiment of the invention. Also elements not being
FIG. 9-10 and the embodiment shown in FIG. 11-13 all                    part of the cooling system as such are shown. The figure
together constituting an integrated unit.                               shows a central processing unit CPU 1 mounted on a moth-
   FIG. 15-16 are perspective view of a possible embodiment             erboard of a computer system 2. The figure also shows a part
of a reservoir and a pump and a heat exchanging surface            60   of the existing fastening means, i.e. amongst others the frame
constituting an integrated unit                                         3 with mortises provided in the perpendicular extending studs
   FIG. 17 is a perspective view of a preferred embodiment of           in each comer of the frame. The existing fastening means, i.e.
a reservoir and a pump and a heat exchanging surface consti-            the frame 3 and the braces 6, will during use be attached to the
tuting an integrated unit,                                              motherboard 2 by means of bolts, screws, rivets or other
   FIG. 18 is a plane view of a possible, however preferred        65   suitable fastening means extending through the four holes
embodiment of an AC electrical motor for a pumping means                provided in each comer of the frame and extending through
of the cooling system according to the invention, and                   corresponding holes in the motherboard of the CPU. The
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frame 3 will still provide an opening for the CPU to enable the        connection being attached to the housing of the reservoir
CPU to extend through the frame.                                       through the reservoir and past the heat exchanger in thermal
   The heat exchanging interface 4 is a separate element and           contact with the CPU to an outlet tube connection 16 also
is made of a heat conducting material having a relative high           being attached to the reservoir housing. The existing fasten-
heat thermal conductivity such as copper or aluminum, and              ing means comprising braces 6 with four tenons and the frame
which will be in thermal contact with the CPU 1, when the              3 with four corresponding mortises will fasten the reservoir
cooling system is fastened to the motherboard 2 of the CPU.            and the heat exchanger to the motherboard of the CPU. When
The heat exchanging surface constitutes part of a liquid res-          fastening the two parts of the existing fastening means to each
ervoir housing 14, thus the heat exchanger 4 constitutes the           other the fastening will by means of the lever arms 18 create
part of the liquid reservoir housing facing the CPU. The 10 a force to assure thermal contact between the CPU 1 mounted
reservoir may as example be made of plastic or of metal. The           on the motherboard and the heat exchanger 4 being provided
reservoir or any other parts of the cooling system, which are          facing the CPU.
possibly manufactured from a plastic material may be "met-                The cooling liquid of the cooling system may be any type
alized" in order to minimize liquid diffusion or evaporation of        of cooling liquid such as water, water with additives such as
the liquid. The metal may be provided as a thin layer of metal 15 anti-fungicide, water with additives for improving heat con-
coating provided on either or on both of the internal side or the      ducting or other special compositions of cooling liquids such
external side of the plastic part.                                     as electrically non-conductive liquids or liquids with lubri-
   If the reservoir is made of metal or any other material             cant additives or anti-corrosive additives.
having a relative high heat conductivity compared to as                   FIG. 5 shows the parts shown in FIG. 4 when assembled
example plastic, the heat exchanging interface as a separate 20 and attached to the motherboard of a CPU of a computer
element may be excluded because the reservoir itself may               system 2. The heat exchanger and the CPU is in close thermal
constitute a heat exchanger over an area, wherein the reser-           contact with each other. The heat exchanger and the remain-
voir is in thermal contact with the processing unit. Alterna-          der of the reservoir housing 14 is fastened to the motherboard
tively to having the heat exchanging interface constitute part         2 by means of the existing fastening means being secured to
of the liquid reservoir housing, the liquid reservoir housing 25 the motherboard of the CPU and by means of the force estab-
may be tightly attached to the heat exchanging interface by            lished by the lever arms 18 of the existing fastening means.
means of screws, glue, soldering, brazing or the like means            The tube inlet connection 15 and the tube outlet connection 16
for securing the heat exchanging interface to the housing and          are situated so as to enable connection of tubes to the connec-
vice versa, perhaps with a sealant 5 provided between the              tions.
housing and the heat exchanging interface.                          30    FIG. 6 is an exploded view of the reservoir shown in pre-
   Alternatively to providing a heat exchanging interface inte-        vious FIG. 4 and FIG. 5 and seen from the opposite site and
grate with the reservoir containing the cooling liquid, it will        also showing the pump 21 being situated inside the reservoir.
be possible to exclude the heat exchanger and providing                Eight screws 22 are provided for attaching the heat exchang-
another means for dissipating heat from the processing unit to         ing surface 4 to the remainder of the reservoir. The heat
the cooling liquid in the reservoir, The other means will be a 35 exchanging surface is preferably made from a copper plate
hole provided in the reservoir, said hole intended for being           having a plane outer surface as shown in the figure, said outer
directed towards the processing unit. Boundaries of the hole           surface being intended for abutting the free surface of the heat
will be sealed towards boundaries of the processing unit or            generating component such as the CPU (see FIG. 4). How-
will be sealed on top of the processing unit for thereby pre-          ever, also the inner surface (not shown, see FIG. 7) facing the
venting cooling liquid from the reservoir from leaking. The 40 reservoir is plane. Accordingly, the copper plate need no
only prerequisite to the sealing is that a liquid-tight connec-        machining other than the shaping of the outer boundaries into
tion is provided between boundaries of the hole and the pro-           the octagonal shape used in the embodiment shown and drill-
cessing unit or surrounding of the processing unit, such as a          ing ofholes for insertion of the bolts. No milling of the inner
carrier card of the processing unit.                                   and/or the outer surface need be provided.
   By excluding the heat exchanger, a more effective heat 45              A sealant in form of a gasket 13 is used for the connection
dissipation will be provided from the processing unit and to           between the reservoir housing 14 and the heat exchanging
the cooling liquid of the reservoir, because the intermediate          surface forming a liquid tight connection. The pump is
element of a heat exchanger is eliminated. The only obstacle           intended for being placed within the reservoir. The pump has
in this sense is the provision of a sealing being fluid-tight in so    a pump inlet 20 through which the cooling liquid flows from
that the cooling liquid in the reservoir is prevented from so the reservoir and into the pump, and the pump has a pump
leaking.                                                               outlet 19 through which the cooling liquid is pumped from the
   The heat exchanging surface 4 is normally a copper plate.           pump and to the outlet connection. The figure also shows a lid
When excluding the heat exchanging surface 4, which may be             17 for the reservoir. The non-smooth inner walls of the res-
a possibility not only for the embodiments shown in FIG. 4,            ervoir and the fact that the pump is situated inside the reser-
but for all the embodiments of the invention, it may be nec- 55 voir will provide a swirling of the cooling liquid inside the
essary to provide the CPU with a resistant surface that will           reservmr.
prevent evaporation of the cooling liquid and/or any damag-               However, apart from the non-smooth walls of the reservoir
ing effect that the cooling liquid may pose to the CPU. A              and the pump being situated inside the reservoir, the reservoir
resistant surface may be provided the CPU from the CPU                 may be provided with channels or segments for establishing a
producer or it may be applied afterwards. A resistant surface 60 certain flow-path for the cooling liquid through the reservoir
to be applied afterwards may e.g. be a layer, such as an               (see FIG. 9-10 and FIG. 15). Channel or segments are espe-
adhesive tape provided on the CPU. The adhesive tape may be            cially needed when the inner surface of the heat exchanging
made with a thin metal layer e.g. in order to prevent evapo-           surface is plane and/or when the inner walls of the reservoir
ration of the cooling liquid and/or any degeneration of the            are smooth and/or if the pump is not situated inside the res-
CPU itself.                                                         65 ervoir. In either of the circumstances mentioned, the flow of
   Within the liquid reservoir, a liquid pump (not shown) is           the cooling liquid inside the reservoir may result in the cool-
placed for pumping a cooling liquid from an inlet tube 15              ing liquid passing the reservoir too quickly and not being
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resident in the reservoir for a sufficient amount of time to take        Thereby, a real-time commnnication between the cooling
up a sufficient amount of heat from the heat exchanging                  system and the operative system is provided without any
surface. By providing channels or segments inside the reser-             special means for establishing the communication.
voir, a flow will be provided forcing the cooling liquid to pass            In the case of the motor driving the pump is anAC electrical
the heat exchanging surface, and the amount of time                      motor, the above method of controlling the pump may be
increased of the cooling liquid being resident inside the res-           combined with a method, where said pumping means is pro-
ervoir, thus enhancing heat dissipation. If channels or seg-             vided with a means for sensing a position of the rotor of the
ments are to be provided inside the reservoir, the shape and of          electrical motor, and wherein the following steps are
the channels and segments may be decisive of whether the                 employed: Initially establishing a preferred rotational direc-
reservoir is to be made of plastic, perhaps by injection mold-      10   tion of the rotor of the electrical motor, before start of the
ing, or is to be made of metal such as aluminum, perhaps by              electrical motor, sensing the angular position of the rotor,
die casting.                                                             during start, applying an electrical AC voltage to the electrical
   The cooling liquid enters the reservoir through the tube              motor and selecting the signal value, positive or negative, of
inlet connection 15 and enters the pump inlet 20, and is                 the AC voltage at start of the electrical motor, said selection
pumped out of the pump outlet 19 connected to the outlet            15   being made according to the preferred rotational direction,
connection 16. The connection between the reservoir and the              and said application of the AC voltage being performed by the
inlet tube connection and the outlet tube connection, respec-            computer system for applying the AC voltage from the elec-
tively, are made liquid tight. The pump may not only be a                trical power supply of the computer system during conversion
self-contained pumping device, but may be made integrated                of the electrical DC voltage of the power supply toAC voltage
into the reservoir, thus making the reservoir and a pumping         20   for the electrical motor. By the operative system of the com-
device one single integrated component. This single inte-                puter system itself generating theAC voltage for the electrical
grated element of the reservoir and the pumping device may               motor, the rotational direction of the pump is exclusively
also be integrated, thus making the reservoir, the pumping               selected by the computer system, non-depending on the
device and the heat exchanging surface one single integrated             applied voltage of the public grid powering the computer
unit. This may as example be possible if the reservoir is made      25   system.
of a metal such as aluminum. Thus, the choice of material                   Further control strategies utilizing the operative system or
provides the possibility of constituting both the reservoir and          alike system of the computer system may involve balancing
a heat exchanging surface having a relatively high heat con-             the rotational speed of the pump as a function of the cooling
ductivity, and possibly also renders the possibility of provid-          capacity needed. If a lower cooling capacity is needed, the
ing bearings and the like constructional elements for a motor       30   rotational speed of the pump, may be limited, thereby limiting
and a pumping wheel being part of the pumping device.                    the noise generating by the motor driving the pump.
   In an alternative embodiment, the pump is placed in imme-                In the case an air fan is provided in combination with a heat
diate vicinity of the reservoir, however outside the reservoir.          sink as shown in FIG. 1, of the air fan is provided in combi-
By placing the pump outside, but in immediate vicinity of the            nation with the heat radiator, the operative system or alike
reservoir, still an integrate element may be obtained. The          35   system of the computer system may be designed for regulat-
pump or the inlet or the outlet is preferably positioned so as to        ing the rotational speed of the pump, and thus of the motor
obtain a turbulence of flow in the immediate vicinity of the             driving the pump, and the rotational speed of the air fan, and
heat exchanging interface, thereby promoting increased heat              thus the motor driving the air fan. The regulation will take into
dissipation between the heat exchanging interface end the                account the cooling capacity needed, but the regulation will at
cooling liquid. even in the alternative, a pumping member           40   the same time take into account which of the two cooling
such as an impeller (see FIG. 15-16) may be provided in the              means, i.e. the pump and the air fan, is generating the most
immediate vicinity of the heat exchanging surface. The                   noise. Thus, it the air fan generally is generating more noise
pumping member itself normally introduces a turbulence of                than the pump, then the regulation will reduce the rotational
flow, and thereby the increased heat dissipation is promoted             speed of the air fan before reducing the rotational speed of the
irrespective of the position of the pump itself, or the position    45   pump, whenever a lower cooling capacity is needed. Thereby,
of the inlet or of the outlet to the reservoir or to the pump.           the noise level of the entire cooling system is lowered as much
   The pump may be driven by anAC or a DC electrical motor.              as possible. If the opposite is the case, i.e. the pump generally
When driven by anAC electrical motor, although being tech-               generating more noise than the air fan, then the rotational
nically and electrically unnecessary in a computer system,               speed of the pump will be reduced before reducing the rota-
this may be accomplished by converting part of the DC elec-         50   tiona! speed of the air fan.
trical power of the power supply of the computer system to                  Even further control strategies involve controlling the cool-
AC electrical power for the pump. The pump may be driven                 ing capacity in dependence on the type of computer process-
by an electrical motor at any voltage common in public elec-             ing taking place. Some kind of computer processing, such as
trical networks such as llOV or 220V. However, in the                    word-processing, applies a smaller load on the processing
embodiment shown, the pump is driven by a 12V AC electri-           55   units such as the CPU than other kinds of computer process-
cal motor.                                                               ing, such as image processing. Therefore, the kind of process-
   Control of the pump in case the pump is driven by an AC               ing taking place on the computer system may be used as an
electrical motor, preferably takes place by means of the                 indicator of the cooling capacity. It may even be possible as
operative system or an alike means of the computer system                part of the operative system or similar system to establish
itself, and where the computer system comprises means for           60   certain cooling scenarios, depending on the kind of process-
measuring the CPU load and/or the CPU temperature. Using                 ing intended by the user. If the user selects as example word-
the measurement performed by the operative system or alike               processing, a certain cooling strategy is applied based on a
system of the computer system eliminates the need for special            limited need for cooling. If the user selects as example image-
means for operating the pump. Communication between the                  processing, a certain cooling strategy is applied based on an
operative system or alike system and a processor for operat-        65   increased need for cooling. Two or more different cooling
ing the pump may take place along already established com-               scenarios may be established depending on the capacity and
munication links in the computer system such as a US B-link.             the control possibilities and capabilities of the cooling system
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and depending on the intended use of the computer system,               heat radiator 11, the cooling liquid passes a number of chan-
either as selected by a user during use of the computer system          nels for radiating the heat, which has been dissipated into the
or as selected when choosing hardware during build-up of the            cooling liquid inside the reservoir, and to the surroundings of
computer system, i.e. before actual use of the computer sys-            the heat exchanger. The air fan 10 blows air past the charmels
tem.                                                                    of the heat radiator in order to cool the radiator and thereby
   The pump is not being restricted to a mechanical device,             cooling the cooling liquid flowing inside the channels
but can be in any form capable of pumping the cooling liquid            through the heat radiator and back into the reservoir.
through the system. However, the pump is preferably one of                 According to the invention, the heat radiator 11 may be
the following types of mechanical pumps: Bellows pump,                  provided alternatively. The alternative heat radiator is consti-
centrifugal pump, diaphragm pump, drum pump, flexible              10   tuted by a heat sink, such as a standard heat sink made of
liner pump, flexible impeller pump, gear pump, peristaltic              extruded aluminum with fins on a first side and a substantially
tubing pump, piston pump, processing cavity pump, pressure              plane second side. An air-fan may be provided in connection
washer pump, rotary lobe pump, rotary vane pump and elec-               with the fins along the first side. Along the second side of the
tro-kinetic pump. Similarly, the motor driving the pumping              heat sink a reservoir is provided with at least one aperture
member need not be electrical but may also be a piezo-             15   intended for being closed by placing said aperture covering
electrically operated motor, a permanent magnet operated                part of, alternatively covering the whole of, the substantial
motor, a fluid-operated motor or a capacitor-operated motor.            plane side of the heat sink. When closing the reservoir in such
The choice of pump and the choice of motor driving the pump             a way a surface of the heat sink is in direct heat exchanging
id dependent on many different parameters, and it is up to the          contact with an interior of the reservoir, and thus in direct heat
person skilled in the art to choose the type of pump and the       20   exchanging contact with the cooling liquid in the reservoir,
type of motor depending on the specific application. As                 through the at least one aperture. This alternative way of
example, some pumps and some motors are better suited for               providing the heat radiator may be used in the embodiment
small computer systems such as lab-tops, some pumps and                 shown in FIG. 8 or may be used as a heat radiator for another
some motors are better suited for establishing high flow of the         use and/or for another embodiment of the invention.
cooling liquid and thus a high cooling effect, and even some       25      A pumping means for pumping the cooling liquid trough
pumps and motors are better suited for ensuring a low-noise             the reservoir may or may not be provided inside the reservoir
operation of the cooling system.                                        at the heat sink. The reservoir may be provided with channels
   FIG. 7 is a cut-out view into the reservoir, when the reser-         or segments for establishing a certain flow-path for the cool-
voir and the heat exchanging surface 4 is assembled and the             ing liquid through the reservoir. Channels or segments are
pump 21 is situated inside the reservoir. The reservoir is         30   especially needed when the inner surface of the heat exchang-
provided with the tube inlet connection (not seen from the              ing surface is plane and/or when the inner walls of the reser-
figure) through which the cooling liquid enters the reservoir.          voir are smooth and/or if the pump is not situated inside the
Subsequently, the cooling liquid flows through the reservoir            reservoir. In either of the circumstances mentioned, the flow
passing the heat exchanging surface and enters the inlet of the         of the cooling liquid inside the reservoir may result in the
pump. After having been passed through the pump, the cool-         35   cooling liquid passing the reservoir too quickly and not being
ing liquid is passed out of the outlet of the pump and further          resident in the reservoir for a sufficient amount of time to take
out through the tube outlet connection 16. The figure also              up a sufficient amount of heat from the heat exchanging
shows a lid 17 for the reservoir. The flow of the cooling liquid        surface. If charmels or segments in the reservoir are to be
inside the reservoir and trough the pump may be further                 provided inside the reservoir, the shape and of the charmels
optimized in order to use as little energy as possible for         40   and segments may be decisive of whether the reservoir is to be
pumping the cooling liquid, but still having a sufficient               made of plastic, perhaps by injection molding, or is to be
amount of heat from the heat exchanging surface being dis-              made of metal such as aluminum, perhaps by die casting.
sipated in the cooling liquid. This further optimization can be            By means of the alternative heat radiator, the heat radiator
established by changing the length and shape of the tube                11 is not provided as is shown in the figure with the rather
connection inlet within the reservoir, and/or by changing the      45   expensive structure of charmels leading the cooling liquid
position of the pump inlet, and/or for instance by having the           along ribs connecting the channels for improved surface of
pumping device placed in the vicinity and in immediate ther-            the structure. Instead, the heat radiator is provided as
mal contact with the heat exchanging surface and/or by pro-             described as a unit constituted by a heat sink with or without
viding channels or segments inside the reservoir.                       a fan and a reservoir, and thereby providing a simpler and
   In this case, an increased turbulence created by the pump-      50   thereby cheaper heat radiator than the heat radiator 11 shown
ing device is used to improve the exchange of heat between              in the figure.
the heat exchanging surface and the cooling liquid. Another                The alternative heat radiator provided as an unit constituted
or an additional way of improving the heat exchange is to               by a heat sink and a reservoir, may be used solely, with or
force the cooling liquid to pass through specially adapted              without a pump inside the reservoir and with or without the
channels or segments being provided inside the reservoir or        55   segments or channels, for being placed in direct or indirect
by making the surface of the heat exchanging surface plate              thermal contact with a heat generating processing unit such as
inside the reservoir uneven or by adopting a certain shape of           CPU or with the heat exchanging surface, respectively. These
a heat sink with segments. In the figure shown, the inner               embodiments of the invention may e.g. be used for a reservoir,
surface of the heat exchanging surface facing the reservoir is          where the cooling liquid along a first side within the reservoir
plane.                                                             60   is in direct heat exchanging contact with the heat generating
   FIG. 8 is a perspective view of the cooling system showing           processing unit such as a CPU and the cooling liquid along a
the reservoir housing 14 with the heat exchanging surface               second side within the reservoir is in direct heat exchanging
(not shown) and the pump (not shown) inside the reservoir.              contact with a heat sink. Such a reservoir may be formed such
The tube inlet connection and the tube outlet connection are            as to provide a larger area of heat exchanging surface towards
connected to a heat radiator by means of connecting tubes 24       65   the heat generating processing unit such as a CPU than the
and 25 through which the cooling liquid flows into and out of           area of the heat exchanging surface facing the heat sink. This
the reservoir and the heat radiator, respectively. Within the           may e.g. have the purpose of enlarging the area of the heat
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exchanging surface so as to achieve an improved heat dissi-              tion molding, or is to be made of metal such as aluminum,
pation form e.g. the CPU to the heat sink than that of a                 perhaps manufactured by extrusion or by die casting.
conventional heat sink without a reservoir attached. Conven-                The reservoir housing 14 or any other parts of the cooling
tional heat sinks normally only exchanges heat with the CPU              system, which are possibly manufactured from a plastic mate-
through the area as given by the area of the top side of the             rial may be "metalized" in order to minimize liquid diffusion
CPU. A system comprising a liquid reservoir and a heat sink              or evaporation of the liquid. The metal may be provided as a
with a fan provided has been found to be a simple, cost                  thin layer of metal coating provided on either or on both of the
optimized system with an improved heat dissipation than that             internal side or the external side of the plastic part.
of a standard heat sink with a fan, but without the reservoir. In           The CPU 1 is intended for being positioned in the aperture
another embodiment of the invention, which may be derived           10   27, as shown in FIG. 10, so that outer boundaries of the CPU
from FIG. 8, the air fan and the heat radiator is placed directly        are engaging boundaries of the aperture. Possibly, a sealant
in alignment of the reservoir. Thereby, the reservoir housing            (not shown) may be provided along the boundaries of the
14, the air fan 10 and the radiator 11 constitute an integrate           CPU and the aperture for ensuring a fluid tight engagement
unit. Such an embodiment may provide the possibility of                  between the boundaries of the CPU and the boundaries of the
omitting the connection tubes, and passing the cooling liquid       15   aperture. When the CPU 1 is positioned in the aperture 27, the
directly from the heat radiator to the reservoir via an inlet            free surface (not shown) of the CPU is facing the reservoir, i.e.
connection of the reservoir, and directly from the reservoir to          the part of the reservoir having the channels provided. Thus,
the heat radiator via an outlet connection of the reservoir.             when positioned in the aperture 27 (see FIG. 10), the free
Such an embodiment may even render the possibility of both               surface of the CPU 1 is having direct contact with cooling
the pumping device of the liquid pump inside the reservoir          20   liquid flowing through the channels 26 in the reservoir.
and the electrical motor for the propeller of the air fan 23 of             When cooling liquid is forced from the inlet 15 along the
the heat radiator 11 being driven by the same electrical motor,          channels 26 to the outlet 16, the whole of the free surface of
thus making this electrical motor the only motor of the cool-            the CPU 1 will be passed over by the cooling liquid, thus
ing system.                                                              ensuring a proper and maximized cooling of the CPU. The
   When placing the heat radiator on top of the air fan now         25   configuration of the channels may be designed and selected
placed directly in alignment with the reservoir and connect-             according to any one or more provisions, i.e. high heat dissi-
ing the heat radiator directly to the inlet connection and outlet        pation, certain flow characteristics, ease of manufacturing
connection of the reservoir, a need for tubes will not be                etc. Accordingly, the channels may have another design
present. However, if the heat radiator and the reservoir is not          depending on any desire or requirement and depending on the
in direct alignment with each other, but tubes may still be         30   type of CPU and the size and shape of the free surface of the
needed, but rather than tubes, pipes made of metal such as               CPU. Also. other processing units than a CPU may exhibit
copper or alnminnm may be employed, such pipes being                     different needs for heat dissipation, and may exhibit other
impervious to any possible evaporation of cooling liquid.                sizes and shapes of the free surface, leading to a need for other
Also, the connections between such pipes and the heat radia-             configurations of the channels. If the processing unit is very
tor and the reservoir, respectively, may be soldered so that        35   elongate, such as a row of microprocessors, one or a plurality
even the connections are made impervious to evaporation of               of parallel channels may be provided, perhaps just having a
cooling liquid.                                                          common inlet and a common outlet.
   In the derived embodiment just described, an integrated                  FIG. 11-13 show an embodiment of a heat sink 4, where
unit of the reservoir, the heat exchanging surface and the               segments 28 are provided at a first side 4A of the heat sink,
pumping device will be given a structure establishing               40   and fins 29 for dissipating heat to the surroundings are pro-
improved heat radiating characteristics because the flow of air          vided at the other, second side 4B of the heat sink. An inter-
of the air fan may also be directed along outer surfaces of the          mediate reservoir housing 30 is provided having a recessed
reservoir. If the reservoir is made of a metal, the metal will be        reservoir at the one side facing the first side 4A of the heat
cooled by the air passing the reservoir after having passed or           sink. The recessed reservoir 30 has an inlet 31 and an outlet 32
before passing the heat radiator. If the reservoir is made of       45   at the other side opposite the side facing the heat sink 4.
metal, and if the reservoir is provided with segments on the                When segments 28 are provided on the first side 4A of the
outside surface of the reservoir, such cooling of the reservoir          heat sink, the shape of the segments may be decisive of
by the air will be further improved. Thereby, the integrated             whether the reservoir, which is made from metal such as
unit just described will be applied improved heat radiating              aluminum or copper, is to be made by extrusion or is to be
characteristics, the heat radiation function normally carried       50   made by other manufacturing processes such as die casting.
out by the heat radiator thus being supplemented by one or               Especially when the segments 28 are linear and are parallel
more of the further elements of the cooling system, i.e. the             with the fins 29, as shown in the embodiment, extrusion is a
reservoir, the heat exchanging surface, the liquid pnmp and              possible and cost-effective means of manufacturing the heat
the air fan.                                                             sink4.
   FIG. 9-10 show an embodiment of a reservoir housing 14,          55      The intermediate reservoir 30 or any other parts of the
where channels 25 are provided inside the reservoir for estab-           cooling system, which are possibly manufactured from a
lishing a forced flow of the cooling liquid inside the reservoir.        plastic material may be "metalized" in order to minimize
The channels 25 in the reservoir housing 14 lead from an inlet           liquid diffusion or evaporation of the liquid. The metal may be
15 to an outlet 16 like a maze between the inlet and the outlet.         provided as a thin layer of metal coating provided on either or
The reservoir housing 14 is provided with an aperture 27            60   on both of the internal side or the external side of the plastic
having outer dimensions corresponding to the dimensions of               part.
a free surface of the processing unit 1 to be cooled. In the                The recessed reservoir is provided with a kind of serration
embodiment shown, the processing unit to be cooled is a CPU              33 along opposite sides of the reservoir, and the inlet 31 and
1.                                                                       the outlet 32, respectively, are provided at opposite corners of
  When channels 26 are provided inside the reservoir, the           65   the intermediate reservoir 30. The segments 28 provided at
shape of the channels may be decisive of whether the reser-              the first side 4A of the heat sink, i.e. the side facing the
voir is to be made of plastic, perhaps manufactured by injec-            intermediate reservoir 30, are placed so that when the heat
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sink is assembled with the intermediate reservoir housing                plate need no machining other than the shaping of the outer
(see FIG. 13) the segments 29 run from one serrated side of              boundaries into the specially adapted shape used in the
the reservoir to the other serrated side of the reservoir.               embodiment shown and drilling of holes for insertion of the
   When cooling liquid is forced from the inlet 31 through the           bolts. No milling of the inner and/or the outer surface need be
reservoir, along channels (not shown) formed by the seg-                 provided.
ments 29 of the heat sink 4 and to the outlet 32, the whole of              The provision of the heat exchanging surface 4 need not be
the first side 4A of the heat sink will be passed over by the            a preferred embodiment, seeing that the solution incorporat-
cooling liquid, thus ensuring a proper and maximized heat                ing the aperture (see FIG. 9-10) result in a direct heat
dissipation between the cooling liquid and the heat sink. The            exchange between the free surface of the CPU or other pro-
configuration of the segments on the first side 4A of the heat      10   cessing unit and the cooling liquid flowing along the channels
sink and the configuration of the serrated sides of the inter-           in the reservoir. However, the heat exchanging surface
mediate reservoir housing may be designed and selected                   enables usage of the cooling system independently on the
according to any provisions. Accordingly, the segments may               type and size of the free surface of CPU or other processing
have another design, perhaps being wave-shaped or also a                 unit. Also, the heat exchanging surface enables replacement,
serrated shape, depending on any desired flow characteristics       15   repair or other intervention of the cooling system without the
of the cooling liquid and depending on the type of heat sink             risk of cooling liquid entering the computer system as such
and the size and shape of the reservoir.                                 and possibly without the need for draining the cooling system
   Also other types ofheat sinks, perhaps circular shaped heat           fully or partly of cooling liquid.
sinks may exhibit different needs for heat dissipation, may                 In the embodiment shown, the heat exchanging surface 4 is
exhibit other sizes and shapes of the free surface, leading to a    20   secured to the reservoir by means of bolts 22. Other conve-
need for other configurations of the segments and the inter-             nient fastening means may be used. The heat exchanging
mediate reservoir. If the heat sink and the reservoir are circu-         surface 4 and thus the reservoir housing 14 may be fastened to
lar or oval, a spiral-shaped segmentation or radially extending          the CPU 1 or other processing nnit by any suitable means such
segments may be provided, perhaps having the inlet or the                as soldering, brazing or by means of thermal paste combined
outlet in the centre of the reservoir. If an impeller of the pump   25   with glue. Alternatively, special means (not shown) may be
is provided, as showninFIG.15-16, the impeller of the pump               provided for ensuring a thermal contact between the free
may be positioned in the centre of a spiral-shaped segmenta-             surface of the CPU or other processing unit and the heat
tion or in the centre of radially extending segments.                    exchanging surface. One such means may be the fastening
   FIG. 14 shows the reservoir housing 14 shown in FIG. 9-10             means shown in FIG. 4 and FIG. 5 or similar fastening means
and the heat sink 4 and the intermediate reservoir 30 shown in      30   already provided as part of the computer system.
FIG. 11-13 being assembled for thereby constituting an inte-                When channels 26 are provided inside the reservoir hous-
grated monolithic nnit. It is not absolutely necessary to                ing 14, the shape of the channels may be decisive of whether
assemble the reservoir housing 14 of FIG. 9-10 and the heat              the reservoir is to be made of plastic, perhaps by injection
sink 4 and the intermediate reservoir 3 0 ofF IG. 11-13 in order         molding, or is to be made of metal such as aluminum, perhaps
to obtain a properly functioning cooling system. The inlet 15       35   by die casting.
and the outlet 16 of the reservoir housing 14 ofFIG. 9-10 may               The reservoir housing 14 or any other parts of the cooling
be connected to the outlet 32 and the inlet 31, respectively, of         system, which are possibly manufactured from a plastic mate-
the intermediate reservoir of FIG. 11-13 by means of tubes or            rial may be "metalized" in order to minimize liquid diffusion
pipes.                                                                   or evaporation of the liquid. The metal may be provided as a
   The reservoir housing 14 of FIG. 9-10 and the heat sink 4        40   thin layer of metal coating provided on either or on both of the
and the intermediate reservoir 30 of FIG. 11-13 may then be              internal side or the external side of the plastic part.
positioned in the computer system at different locations.                   The impeller 33 (see FIG. 14) of the pump is positioned in
However, by assembling the reservoir housing 14 of FIG.                  a separate recess of the channels 26, said separate recess
9-10 and the heat sink 4 and the intermediate reservoir 30 of            having a size corresponding to the diameter of the impeller of
FIG. 11-13 a very compact monolithic unit is obtained, also         45   the pump. The recess is provided with an inlet 34 and an outlet
obviating the need for tubes or pipes. Tubes or pipes may                35 being positioned opposite an inlet 31 and an outlet 32 of
involve an increased risk of leakage of cooling liquid or may            cooling liquid to and from, respectively, the channels 26. The
require soldering or other special working in order to elimi-            impeller 33 of the pump has a shape and a design intended
nate the risk of leakage of cooling liquid. By eliminating the           only for one way rotation, in the embodiment shown a clock-
need for tubes or pipes, any leakage and any additional work-       50   wise rotation only. Thereby, the efficiency of the impeller of
ing is obviated when assembling the cooling system.                      the pump is highly increased compared to impellers capable
   FIG. 15-16 show a possible embodiment of a reservoir                  of and intended for both clock-wise and counter clock-wise
according to the invention. The reservoir is basically similar           rotation.
to the reservoir shown in FIG. 9-10. However, an impeller 33                The increased efficiency of the impeller design results in
of the pump of the cooling system is provided in direct com-        55   the electric motor (not shown) driving the impeller of the
munication with the channels 26. Also, in the embodiment                 pump possibly being smaller than otherwise needed for estab-
shown, a heat exchanging interface 4 such as a surface made              lishing a proper and sufficient flow of cooling liquid through
from a copper plate, alternatively a plate of another material           the channels. in a preferred embodiment, the electric motor is
having a high thermal conductivity, is placed between the                anAC motor, preferably a 12V AC motor, although the impel-
channels 26 inside the reservoir and the CPU 1 as the pro-          60   ler is intended for a DC motor. The contradictory use of anAC
cessing nnit.                                                            motor driving a DC impeller leads to the possibility of an even
   The heat exchanging surface 4 is preferably made from a               smaller motor needed for establishing the proper and suffi-
copper plate having a plane outer surface as shown in the                cient flow of cooling liquid through the channels.
figure, said outer surface being intended for abutting the free             The impeller may be driven by an electrical motor at any
surface of the heat generating component such as the CPU 1          65   voltage common in public electrical networks such as llOV
(see FIG. 4). However, also the inner surface (not shown, see            or 220V. The power supply of the computer system converts
FIG. 7) facing the reservoir is plane. Accordingly, the copper           the high voltage AC power to low voltage DC power. Thus,
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the impeller of the pump may be driven by an AC or a DC                  liquid after having been heated by the processing unit via a
electrical motor. As mentioned, preferably the impeller of the           heat exchanging surface (see description below).
pump is driven by an AC electrical motor. Although being                    The radiator may be placed nearby or distant from the
technically unnecessary to use an AC electrical motor and                reservoir housing 14, depending on the set-up of the computer
being electrically disadvantageous to use an AC electrical               system. In one possible embodiment, the radiator is placed in
motor in a computer system supplying DC electrical power,                the immediate vicinity of the reservoir, thereby possible
this may be accomplished by converting part of the DC elec-              excluding any tubing extending between the radiator and the
trical power of the power supply of the computer system to               inlet and the outlet, respectively. Such embodiment provides
AC electrical power for theAC motor of the pump. However,                a very compact configuration of the entire cooling system,
                                                                    10   namely a monolithic configuration where all elements needed
in the embodiment shown, the impeller of the pump is driven
                                                                         for the cooling system are incorporated in one unit.
by a 12V electrical motor.
                                                                            In an alternative embodiment, the reservoir housing 14
   FIG. 17 shows a preferred possible embodiment of a res-
                                                                         itself also constitutes the radiator of the cooling system. In
ervoir according to the invention. The reservoir housing 14, as          such embodiment, an inlet and an outlet are not needed. If the
shown in FIGS. 17 and 20, is in the form of a double-sided          15   reservoir is made of a metal such as copper or aluminum or
chassis configured to mount an electrical motor. The reservoir           other material having a high thermal conductance, the cooling
housing 14 has basically the same features as the reservoir              liquid, after having been heated by the processing unit via a
housing showninFIG.15-16. In the embodiment shown, the                   heat exchanging surface 8 see description below) may radiate
reservoir substantially has a conical, circular configuration            the heat via the exterior surface of the reservoir housing 14
and is provided with stiffening ribs 36 extending axially along     20   itself. In such embodiment, the ribs 36 along the exterior
the exterior of the reservoir housing 14.                                surface of the reservoir housing 14 may also, or may instead,
   Other shapes such as cylindrical, circular, or conical rect-          function as cooling fins. In such embodiment, the fins will
angular or cylindrical, rectangular or even oval or triangular           have a smaller dimension than the transverse dimension of the
shapes may be adopted, when designing and possibly injec-                ribs 14 shown in FIG. 17, and the number of fins will be
tion molding or casting the reservoir. The dimension of the         25   greater than the number of fins shown in FIG. 17.
embodiment shown is approximately 55 mm in diameter and                     An impeller 33 of the pump of the cooling system is pro-
also 55 mm in axial extension.                                           vided in direct communication with a pump chamber 46
   The reservoir housing 14 has a recess 40 in the centre on the         formed by impeller cover 46A having an outlet 34 provided
upper side_of the reservoir. The recess 40 is intended for               tangentially to the circumference of the impeller 33. Thus, the
accommodating a stator 37 of an electrical motor driving an         30   pump functions as a centrifugal pump. The inlet of the pump
impeller 33 of the pump, said impeller being attached to a               chamber 46 is the entire opening into the cavity that the pump
shaft 38 of a rotor 39 of the electrical motor. The recess 40 has        chamber configures, said cavity being in direct communica-
an orifice 41, four sidewalls 42, a bottom 43 and a circular             tion with the interior of the reservoir housing 14 as such. An
jacket 44 extending from the bottom 43 of the recess 40 and              intermediate member 47 is provided between the pump
outwards towards the orifice 41 of the recess 40. The interior      35   chamber 46 together with the interior of the reservoir and a
(see FIG. 20) of the jacket 44 is intended for encompassing              heat exchanging interface 4. The intermediate member 47 is
the rotor 39 of the pump. As shown in FIG. 20, the impeller 33           provided with a first passage 48 for leading cooling liquid
is housed in a recess on the underside of the reservoir housing          from the pump chamber 46 to a thermal exchange chamber
14, the recess being an extension of the interior of the jacket          47A provided at the opposite of the intermediate member 47.
44.                                                                 40   The intermediate member 47 is provided also with a second
   Thereby, a liquid-proof division is made between the rotor            passage 49 for leading cooling liquid from the thermal
39 of the motor, said rotor 39 being placed inside the interior          exchange chamber 47A provided at the opposite of the inter-
of the jacket 44 and being submerged in the cooling liquid,              mediate member 4 7 to the interior of the reservoir housing 14.
and the stator 37 of the pump, said stator 37 being positioned           Thus, the area enclosed between the underside of the reser-
in the recess 40 and surrounding the exterior of the jacket 44.     45   voir housing 14 and the heat exchange surface4 constitutes an
Accordingly, the stator 37 need not be sealed against the                enclosed space for circulating the cooling liquid there-
cooling liquid, because the recess 40 together with the jacket           through. The enclosed spaced is divided into two separate
44 ensures the stator staying dry from the cooling liquid, but           chambers by the impeller cover 46A and the intermediate
the stator 37 still being capable of driving the rotor 39, when          member 47, as shown in FIG. 20. The impeller cover 46A
being supplied with electrical power from a power supply            50   interfaces with the recess on the underside of the reservoir 14
(not shown) of the computer system.                                      to define the pump chamber 46 which houses the impeller 33,
   Along an outer circumferential extension, the reservoir               while the intermediate member 47 and the heat exchange
housing 14 is provided with protrusions 45 extending out-                surface 4 together define the thermal exchange chamber 47A.
wardly from the circumferential extension. The protrusions                  In the embodiment shown, a heat exchanging interface 4
are intended for cooperating with a clip (see description           55   such as a surface made from a copper plate, alternatively a
below) for fastening the reservoir housing 14 to the CPU or              plate of another material having a high thermal conductivity,
other processing unit of the computer system. The protrusions            is placed in thermal communication with the thermal
45 are shown as a plurality of singular protrusions. Alterna-            exchange chamber (not shown) at the opposite side of the
tively, the protrusions may be only one continuous protrusion            intermediate member 47.
extending outwardly and around the circumferential exten-           60      The heat exchanging interface 4 is preferably made from a
S!On.                                                                    copper plate having a plane outer surface (not shown) at the
   The reservoir housing 14 may also be provided with an                 opposite side as the side shown in the figure, said outer sur-
inlet (not shown) and an outlet (not shown) for the cooling              face being intended for abutting the free surface of the heat
liquid. The inlet and the outlet are provided along a surface of         generating component such as the CPU (see FIG. 4). The
the reservoir facing downward and inwards when seen in the          65   inner surface facing the thermal exchange chamber (not
perspective view of the drawing. The inlet and the outlet lead           shown) at the opposite side of the intermediate member 47 is
to a radiator (not shown) intended for cooling the cooling               provided with pins 4A extending from the base of the copper
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plate and into the thermal exchange chamber (not shown) at        be made of plastic, perhaps by injection molding, or is to be
the opposite side of intermediate member 47. The pins 4A          made of metal such as aluminum, perhaps by die casting.
constitutes an uneven surface and may either be provided          Also, the purpose of the fins i.e. just for stiffening the reser-
during casting of the copper plate or may be provided by          voir, or also or instead for cooling purposes, may be decisive
means of milling or other machining process of a copper           of whether the reservoir is to be made of plastic, perhaps by
plate. The pins provide a network of channels across the inner    injection molding, or is to be made of metal such as alumi-
surface of the heat exchanging interface, along which net-        num, perhaps by die casting.
work the cooling liquid is intended to flow.                         The reservoir housing 14 or any other parts of the cooling
   Alternatively, also the inner surface of the copper plate      system, which are possibly manufactured from a plastic mate-
facing the reservoir is plane. In this alternative embodiment, 10 rial may be "metalized" in order to minimize liquid diffusion
the copper plate need no machining other than the shaping of      or evaporation of the liquid. The metal may be provided as a
the outer boundaries into the specially adapted shape used in     thin layer of metal coating provided on either or on both of the
the embodiment shown. No milling or other machining pro-          internal side or the external side of the plastic part.
cess of the inner and/or the outer surface need be provided,         The impeller 33 of the pump has a shape and a design
when both the outer surface and the inner surface is plane.    15 intended only for one way rotation, in the embodiment shown
   The provision of the heat exchanging interface 4 need not      a clock-wise rotation only. Thereby, the efficiency of the
be a preferred embodiment, seeing that the solution incorpo-      impeller of the pump is highly increased compared to impel-
rating the aperture (see FIG. 9-10) result in a direct heat       lers capable of and intended for both clock-wise and counter
exchange between the free surface of the CPU or other pro-        clock-wise rotation.
cessing unit and the cooling liquid flowing along the channels 20    The increased efficiency of the impeller design results in
in the reservoir. However, the heat exchanging interface          the electric motor (not shown) driving the impeller of the
enables usage of the cooling system independently on the          pump possibly being smaller than otherwise needed for estab-
type and size of the free surface of CPU or other processing      lishing a proper and sufficient flow of cooling liquid through
unit. Also, the heat exchanging interface enables replace-        the channels. In a preferred embodiment, the electric motor is
ment, repair or other intervention of the cooling system with- 25 anAC motor, preferably a 12V AC motor, although the impel-
out the risk of cooling liquid entering the computer system as    ler is intended for a DC motor. The contradictory use of anAC
such and possibly without the need for draining the cooling       motor driving a DC impeller leads to the possibility of an even
system fully or partly of cooling liquid.                         smaller motor needed for establishing the proper and suffi-
   In the embodiment shown, the heat exchanging interface 4       cient flow of cooling liquid through the channels.
is secured to the intermediate member 47 by means of gluing 30       The impeller may be driven by an electrical motor at any
or other means ensuring a proper and liquid-tight fastening of    voltage common in public electrical networks such as llOV
the heat exchanging interface with the intermediate member.       AC power or 220V AC power. The power supply of the
Any other suitable and convenient means (not shown) for           computer system converts the high voltage AC power to low
securing the heat exchanging interface to the intermediate        voltage DC power. Thus, the impeller of the pump may be
member may be envisaged.                                       35 driven by either an AC or a DC electrical motor. As men-
   The heat exchanging interface and thus the reservoir is        tioned, preferably the impeller of the pump is driven by anAC
fastened to the top of the CPU by means of a clip 50. The clip    electrical motor. Although being technically unnecessary to
50 has a circular configuration and has four legs 51 extending    use anAC electrical motor and being electrically disadvanta-
axially from the circular configuration. The four legs 51 are     geous to use an AC electrical motor in a computer system
provided with footing 52 and the footings 52 are provided 40 supplying DC electrical power, this may be nevertheless be
with holes 53. The clip 50 is intended for being displaced        accomplished by converting part of the DC electrical power
around the exterior of the reservoir housing 14 and further       of the power supply of the computer system to AC electrical
axially to the protrusions 45 of the reservoir housing 14.        power for the AC motor of the pump.
   The clip 50, after having been placed around the reservoir        In every aspect of the invention, where anAC motor is used
housing 14, is fastened to the motherboard of the computer 45 for driving an impeller from a DC motor, although this way of
system by means of bolts (not shown) or the like fastening        configuring a pump is contradictory, the following preferred
means extending through the holes 53 in the footings 52 and       mode of operation is established for alleviating the disadvan-
further though corresponding holes in the motherboard. The        tages:
corresponding holes in the motherboard are preferably holes          In order to be able to control direction of rotation of the
already available in the motherboard in the vicinity of the so impeller attached to the rotor and to optimize the conditions
CPU and the socket of the CPU, respectively. Accordingly,         of maximum average torque value during starting, i.e. from
the legs 51 and the footings 52 of the clip 50 are specially      zero speed up to the synchronous speed, an electronic control
designed in accordance with the already provided holes in the     circuit is used. The electronic control circuit comprises a
motherboard.                                                      processing unit, which drives a static power switch, consti-
   Alternatively, the heat exchanging interface 4 and thus the 55 tuted for example by a triac arranged in series between the
reservoir housing 14 may be fastened to the CPU or other          alternating-voltage power, which is obtained from the DC
processing unit by any other suitable means such as soldering,    power supply of the computer system, and the AC motor. The
brazing or by means of thermal paste combined with glue.          same series network also includes a detector for the current I
Alternatively, special means (not shown) may be provided for      which flows through the triac and then through the AC motor.
ensuring a thermal contact between the free surface of the 60 The output of the current detector is an input signal for the
CPU or other processing unit and the heat exchanging inter-       electronic processing unit.
face. One such means may be the fastening means shown in             The electronic control circuit may also comprise a number
FIG. 4 and FIG. 5 or similar fastening means already provided     or sensors suitable for detecting the position and polarity of
as part of the computer system.                                   the permanent magnets comprised in the rotor of the AC
   When stiffening and/or cooling fins 36 are provided at the 65 motor, both when the rotor is moving and when it is in par-
exterior of the reservoir housing 14, the shape of and the        ticular operating conditions, or when it is motionless or
number of fins may be decisive of whether the reservoir is to     stalled at zero speed. The number of position sensors may be
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                                25                                                                          26
Hall sensors, encoders or optical or electromechanical sen-                  tiona! and will therefore force the rotor to start rotating in a
sors capable of establishing and/or measuring the position of                required direction. The required direction of rotation is deter-
the rotor. The output signal from the number of position                     mined by the design of the impeller attached to the rotor and
sensors is an input signal for the electronic processing unit.               by polarity of the half-wave voltage signal.
   Alternatively, the output signal from the position sensor                    After some amount of time, in which a number of half-
may be phase shifted by means of an electronic phase shifting                wave voltage signals has been supplied to the motor, the rotor
circuit before the output signal is sent to the input of the                 will stop rotating at a certain position e.g. as shown in the
electronic processing unit.                                                  figure. Thus, the rotor is brought into a determined steady
   A third signal may be input to the processing unit, said third            state position that is independent of its start position. Subse-
signal enabling the processing unit to detect the polarity of the       10   quent to this process, the AC motor is supplied with a full-
AC voltage applied to theAC motor. However, the third signal                 wave voltage signal that will accelerate the rotor until the
is not compulsory.                                                           motor enters synchronous operation, that is, when the rotor
    The signals input to the electronic processing unit are con-             rotates with the same cyclic frequency as the frequency of the
verted into digital form and after being processed by the                    AC voltage source.
processing unit, an output signal is provided by the process-           15      The initial polarity of the AC voltage signal is determina-
ing unit. The output signal is used for closing or opening the               tive for the resulting direction of rotation of the rotor, thus if
static switch constituted by a triac arranged in series with the             the initial voltage is positive with an increasing amplitude, the
ACmotor.                                                                     rotor will start rotating in one direction, whereas if the voltage
    In the electronic processing unit, the current signal pro-               is negative with a decreasing amplitude, the rotor will start
vided by the current sensor enters a zero-crossing detector             20   rotating in an opposite direction.
which provides in output a logical "1" signal indicating that                   The number of half-waves required for bringing the rotor
said current approaches zero with a positive or negative devia-              into a determined steady state position, where the rotor stops
tion from the zero value of said current. This deviation                     rotating, depends on the characteristics of the motor such as
depends on the type of motor used and on its application, as                 moment of inertia and the external load applied to the rotor.
well as on the type of static power switch being used. The              25   Thus, the number of half-waves required is based on empiri-
signal arriving from the position sensor enters a phase-shift                cal analysis of a particular motor in particular load conditions.
and processing circuit the output whereof is 1 or 0 according                   The half-wave voltage signal and the corresponding half-
to the position and polarity of the rotor.                                   wave current signal supplied to the motor will have an appear-
    In the electronic processing unit, the phase shifted position            ance as shown in FIG. 19.
signal as well as the signal processed from the AC voltage,             30      In an alternative embodiment the control electrics used to
enter an electronic logic XOR gate which outputs a "1" signal                drive the AC motor shown if FIG. 18 is configured so that that
if the digital value of the AC voltage is equal to "0" and the               the control electronics dictates the AC motor to stop at a
digital value of the phase shifted position signal is equal to               predetermined position by supplying the motor with anum-
"1" or the digital value oftheAC voltage is equal to "1" and                 ber of half-wave voltage signals subsequent to the synchro-
the digital value of the phase shifted position signal is equal to      35   nous operation in which the motor was supplied with a full-
"0".                                                                         wave voltage signal. Thus, at the time the motor needs to be
    The output of the zero-crossing detector and the output of               started again, the rotor is already in a position so that only the
the XOR gate, thus in digital form, enter an electronic logic                polarity of the full-wave AC voltage signal supplied to the
AND gate which provides in output the control signal for                     motor must be chosen so that the resulting direction of rota-
closing or opening the static power switch.                             40   tion of the rotor is in conformity with the terminal position of
    The AND gate with two inputs and the signal processing                   the rotor at the last operation.
system allow determining two conditions: 1) the AC voltage                      According to this method, the initial step of bringing the
signal is positive, the current is proximate to zero, and the                rotor into a determined steady state position by supplying the
rotor rotation angle is between 0 degrees and 180 degrees; 2)                motor with a number of half-wave voltage signals is not
the AC voltage signal is negative, the current is proximate to          45   required. Even in the alternative, it will be possible to both
zero, and the rotor rotation angle is between 180 degrees and                terminate the full-wave power supply with a number of half-
360 degrees. These two conditions provide the same rotation                  wave voltage signals as well as commencing the full-wave
direction of the rotor of the AC motor.                                      power supply by initially supplying the motor with a number
    FIG. 18 shows an embodiment of an AC motor in which                      of half-wave signals. However, this is more cumbersome, but
one stator pole 54 is longer than the other stator pole 55 by an        50   nevertheless more safe.
amount indicated by 1. With this configuration the perma-                       FIG. 19 shows a voltage signal V and a current signal I
nent-magnet rotor 39 with an ideal line 56 separating the                    applied to the AC motor as well as the position signal of the
north Nand the southS of the rotor, is positioned so that the                rotor. Initially the rotor stands still, which is represented by
ideal line 56 do not coincide with the median axis 57 of the                 the straight line L. The electronic control circuit controls the
stator 37, but so that the ideal line 56 is tilted by a certain angle   55   static power switch so that the voltage signal V and the current
.alpha. in respect to the median 57 of the stator 37.                        signal I are present as half-waves. Thus, the rotor receives
    Two energizing windings 58, 59 are provided on the two                   torque pulses due to the current-voltage combination; these
poles 54,55 of the stator 37, respectively, and the energizing               pulses are always one-way directional and tend to start the
windings are connected in series and are powered, through                    rotor moving in the required direction. Subsequent to the
terminals (not shown), by an AC power source. With this                 60   start-up phase, the rotor enters into its synchronous operation.
configuration of the AC motor, the motor is able to start more                  Thus, an AC signal is generated, preferably a 12 VAC
easily in an intended rotational direction of the rotor.                     signal, possibly by means of digital electric pulses from the
    In a preferred embodiment of the invention, the control                  12 V DC power supply of the computer's power supply.
electronics supplies the AC motor with only a half-wave                      Based on a possible sensor output relating to the impeller
voltage signal during start up, thereby providing torque                65   position, a decision is made of how to initiate the AC power
pulses to the rotor. Since only a half-wave voltage signal is                signal, i.e. with a negative or positive half-wave, and by doing
supplied to the motor, the torque pulses are always unidirec-                making sure the impeller starts in the same rotational direc-
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tion each time and thus the performance benefits of the AC                 3. The cooling system of claim 1, wherein the heat-ex-
pump is similar to those of a DC pump.                                   changing interface includes a first side and a second side
   Alternatively, the magnetic field sensor is omitted, and              opposite the first side, and wherein the heat-exchanging inter-
instead of reading the impeller position, the impeller is forced         face contacts the cooling liquid in the thermal exchange
to be in the same position every time the impeller starts. To be         chamber on the first side and the heat-exchanging interface is
sure the impeller is in a defined position before start, a signal        configured to be in thermal contact with the surface of the
is supplied to the stator of the AC motor for a defined period           heat-generating component on the second side.
of time. The signal is supplied perhaps three times in a row                4. The cooling system of claim 3, wherein the first side of
according to the curvature of the electrical power source. The           the heat-exchanging interface includes features that are
pulses must be within the same half-wave part of a signal           10   adapted to increase heat transfer from the heat-exchanging
period. The frequency of the pulsed signal is arbitrary, but             interface to the cooling liquid in the thermal exchange cham-
may be 50/60Hz, although, despite the fact that under normal             ber.
circumstances an AC pump being driven by the AC signal                      5. The cooling system of claim 4, wherein the features
from the power outlet of the public electrical power network             include at least one of pins or fins.
and transformed from 230/115 V to 12V would not function,           15       6. The cooling system of claim 1, wherein a passage of the
as there is no chance of changing the sine signal from the               one or more passages that fluidly couple the pump chamber
public network.                                                          and the thermal exchange chamber is offset from a center of
   By this way the impeller will be forced to the right polarity         the impeller.
before start, and the pump will start turning the impeller in a             7. The cooling system of claim 1, wherein the impeller
defined way of rotation when the power signal full-wave is          20   includes a plurality of curved blades.
supplied. The full-wave power signal, which is supplied, must               8. The cooling system of claim 1, wherein the heat-ex-
start in the opposite signal half-wave amplitude than that of            changing interface includes one of copper and aluminum.
the initial half-wave pulses, that was supplied before start of             9. The cooling system of claim 1, wherein the heat radiator
the full-wave power signal.                                              is fluidly coupled to the reservoir using flexible conduits, and
   The invention has been described with reference to specific      25   the heat radiator is configured to be positioned remote from
embodiments and with reference to specific utilization, it is to         the reservoir.
be noted that the different embodiments of the invention may                10. A cooling system for a computer system, comprising:
be manufactured, marketed, sold and used separately or                      a centrifugal pump adapted to circulate a cooling liquid, the
jointly in any combination of the plurality of embodiments. In                  pump including:
the above detailed description of the invention, the descrip-       30          an impeller exposed to the cooling liquid; and
tion of one embodiment, perhaps with reference to one or                        a stator isolated from the cooling liquid;
more figures, may be incorporated into the description of                   a reservoir configured to be thermally coupled to a heat-
another embodiment, perhaps with reference to another or                        generating component of the computer system, the res-
more other figures, and vice versa. Accordingly, any separate                   ervoir including:
embodiment described in the text and/or in the drawings, or         35          a thermal exchange chamber adapted to be positioned in
any combination of two or more embodiments is envisaged by                         thermal contact with the heat-generating component;
the present application.                                                        a separate pump chamber vertically spaced part from the
   What is claimed is:                                                             thermal exchange chamber and coupled with the ther-
   1. A cooling system for a heat -generating component, com-                      mal exchange chamber through one or more passages
prising:                                                            40             configured for fluid communication between the
   a double-sided chassis adapted to mount a pump config-                          pump chamber and the thermal exchange chamber,
      ured to circulate a cooling liquid, the pump comprising                      and wherein at least one of the one or more passages
      a stator and an impeller, the impeller being positioned on                   is offset from a center of the impeller.
      the underside of the chassis and the stator being posi-               11. The cooling system of claim 10, wherein a top wall of
      tioned on the upper side of the chassis and isolated from     45   the reservoir physically separates the impeller from the stator.
      the cooling liquid;                                                   12. The cooling system of claim 10, wherein the thermal
   a reservoir adapted to pass the cooling liquid therethrough,          exchange chamber includes a heat-exchange interface con-
      the reservoir including:                                           figured to be placed in thermal contact with the heat-gener-
      a pump chamber including the impeller and formed                   ating component.
         below the chassis, the pump chamber being defined          50      13. The cooling system of claim 10, further including a heat
         by at least an impeller cover having one or more                radiator fluidly coupled to the reservoir using flexible con-
         passages for the cooling liquid to pass through;                duits, wherein the heat radiator is configured to be positioned
      a thermal exchange chamber formed below the pump                   remote from the reservoir.
         chamber and vertically spaced apart from the pump                  14. The cooling system of claim 10, wherein the fluid
         chamber, the pump chamber and the thermal                  55   passage that is offset from the center of the impeller is posi-
         exchange chamber being separate chambers that are               tioned tangentially to the circumference of the impeller.
         fluidly coupled together by the one or more passages;              15. A cooling system for a heat-generating component,
         and                                                             comprising:
      a heat-exchanging interface, the heat-exchanging inter-               a pump adapted to circulate a cooling liquid, the pump
         face forming a boundary wall of the thermal exchange       60          including:
         chamber, and configured to be placed in thermal con-                   an impeller exposed to the cooling liquid; and
         tact with a surface of the heat-generating component;                  a stator isolated from the cooling liquid;
         and                                                                a reservoir including an impeller cover, an intermediate
   a heat radiator fluidly coupled to the reservoir and config-                 member and a heat exchange interface, wherein a top
      ured to dissipate heat from the cooling liquid.               65          wall of the reservoir and the impeller cover define a
   2. The cooling system of claim 1, wherein the chassis                        pump chamber for housing the impeller, and the inter-
shields the stator from the cooling liquid in the reservoir.                    mediate member and the heat exchange interface define
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  a thermal exchange chamber, the pump chamber and the                  16. The cooling system of claim 15, wherein the impeller
  thermal exchange chamber being spaced apart from                   cover includes a first opening radially offset from a center of
  each other in a vertical direction and fluidly coupled             the impeller and the intermediate member includes a second
  together; and                                                      passage that is aligned with the first opening, the first and the
  wherein a first side of the heat-exchanging interface is in        second opening being configured to direct the cooling liquid
    contact with a cooling liquid in the thermal exchange            from the pump chamber into the thermal exchange chamber.
    chamber and a second side of the heat-exchanging                    17. The cooling system of claim 15, wherein the first side of
    interface opposite the first side is configured to be            the heat -exchanging interface includes at least one of pins or
    placed in thermal contact with a surface of the heat-            fins.
    generating component; and                                   10      18. The cooling system of claim 15, wherein the top wall of
                                                                     the reservoir extends between the stator and the impeller and
a liquid-to-air heat exchanger fluidly coupled to the reser-         shields the stator from the cooling liquid in the reservoir.
   voir using flexible conduits, the heat exchanger being
   configured to be positioned remote from the reservoir.                                   * * * * *
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,245,764 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 13/269234
DATED                       :August 21, 2012
INVENTOR(S)                 : Andre Sloth Eriksen

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Claim 10, col. 28, line 37, "vertically spaced part" should read --vertically spaced apart--.




                                                                                  Signed and Sealed this
                                                                            Twenty-fifth Day of September, 2012




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
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                                                                                           US008245764Cl

c12)   INTER PARTES REEXAMINATION CERTIFICATE (1409th)
United States Patent                                                   c1o)   Number:          US 8,245,764 Cl
Eriksen                                                                (45)   Certificate Issued:   Apr. 17, 2017

(54)   COOLING SYSTEM FOR A COMPUTER                                              (2013.01); G06F 2200/201 (2013.01); HOJL
       SYSTEM                                                                  2924/00 (2013.01); HOJL 2924/0002 (2013.01)
                                                                  (58)    Field of Classification Search
(75)   Inventor:   Andre Sloth Eriksen, Aalborg C (DK)                    None
                                                                          See application file for complete search history.
(73)   Assignee: ASETEK A/S, Bronderslev (DK)
                                                                  (56)                      References Cited
Reexamination Request:
     No. 95/002,386, Sep. 15, 2012                                To view the complete listing of prior art documents cited
                                                                  during the proceeding for Reexamination Control Number
Reexamination Certificate for:                                    95/002,386, please refer to the USPTO's public Patent
     Patent No.:    8,245,764                                     Application Information Retrieval (PAIR) system under the
     Issued:        Aug. 21, 2012                                 Display References tab.
     Appl. No.:     13/269,234
     Filed:         Oct. 7, 2011                                  Primary Examiner- Joseph Kaufman

Certificate of Correction issued Sep. 25, 2012                    (57)                         ABSTRACT

              Related U.S. Application Data                       The invention relates to a cooling system for a computer
                                                                  system, said computer system comprising at least one unit
(63)   Continuation of application No. 11/919,974, filed as       such as a central processing unit (CPU) generating thermal
       application No. PCT/DK2005/000310 on May 6,                energy and said cooling system intended for cooling the at
       2005.                                                      least one processing unit and comprising a reservoir having
                                                                  an amount of cooling liquid, said cooling liquid intended for
(51)   Int. Cl.                                                   accumulating and transferring of thermal energy dissipated
       F28F 7100             (2006.01)                            from the processing unit to the cooling liquid. The cooling
       H05K 7120             (2006.01)                            system has a heat exchanging interface for providing ther-
       HOJL 231473           (2006.01)                            mal contact between the processing unit and the cooling
       G06F 1120             (2006.01)                            liquid for dissipating heat from the processing unit to the
       F04D 15100            (2006.01)                            cooling liquid, Different embodiments of the heat exchang-
(52)   U.S. Cl.                                                   ing system as well as means for establishing and controlling
       CPC ........ HOJL 231473 (2013.01); F04D 1510066           a flow of cooling liquid and a cooling strategy constitutes the
             (2013.01); G06F 1120 (2013.01); G06F 11206           invention of the cooling system.




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         INTER PARTES               2 4. The cooling system of claim                                    10, wherein the one or
                                  more passages include a plurality                                     of passages positioned
   REEXAMINATION CERTIFICATE                                        within the reservoir that opens into the thermal exchange
                                                                    chamber.
       THE PATENT IS HEREBY AMENDED AS
               INDICATED BELOW.                                       25. The cooling system of claim 12, wherein an entire
                                                                    surface of the heat-exchange interface in contact with the
   Matter enclosed in heavy brackets [ ] appeared in the            cooling liquid in the reservoir forms a boundary wall of the
patent, but has been deleted and is no longer a part of the         thermal exchange chamber.
patent; matter printed in italics indicates additions made
to the patent.                                                 10       26. The cooling system of claim 10, wherein the reservoir
                                                                    further includes an inlet configured to direct the cooling
AS A RESULT OF REEXAMINATION, IT HAS BEEN                            liquid into the reservoir and an outlet configured to dis-
  DETERMINED THAT:                                                   charge the cooling liquid from the reservoir.
                                                                       2 7. The cooling system of claim 15, wherein the pump
    The patentability of claims 1-18 is confirmed.             15   chamber and the thermal exchange chamber are fluidly
    New claims 19-30 are added and determined to be                 coupled together by one or more passages, the one or more
patentable.                                                         passages including a passage configured to direct cooling
    19. The cooling system of claim 1, wherein the one or           liquid from the pump chamber directly into the thermal
 more passages include a passage configured to direct cool-         exchange chamber.
 ing liquid from the pump chamber directly into the thermal    20
 exchange chamber.                                                    28. The cooling system of claim 15, wherein the pump
    20. The cooling system of claim 1, wherein the one or           chamber and the thermal exchange chamber are fluidly
 more passages include a plurality of passages positioned           coupled together by a plurality of passages positioned
 within the reservoir that opens into the thermal exchange          within the reservoir that open into the thermal exchange
 chamber.                                                           chamber.
                                                               25
    21. The cooling system of claim 1, wherein an entire              29. The cooling system of claim 15, wherein an entire
surface of the heat-exchanging interface in contact with the        surface of the heat-exchanging interface in contact with the
 cooling liquid in the reservoir forms the boundary wall of         cooling liquid in the reservoir forms a boundary wall of the
 the thermal exchange chamber.                                      thermal exchange chamber.
    22. The cooling system of claim 1, wherein the reservoir
                                                               30       30. The cooling system of claim 15, wherein the pump
further includes an inlet configured to direct the cooling
 liquid into the reservoir and an outlet configured to dis-          chamber and the thermal exchange chamber are fluidly
 charge the cooling liquid from the reservoir.                       coupled together by one or more passages, and the reservoir
    23. The cooling system of claim 10, wherein the one or          further includes an inlet configured to direct the cooling
 more passages include a passage configured to direct cool-          liquid into the reservoir and an outlet configured to dis-
                                                               35    charge the cooling liquid from the reservoir.
 ing liquid from the pump chamber directly into the thermal
 exchange chamber.                                                                        * * * * *
